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                         IN THE UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF INDIANA
                                 FORT WAYNE DIVISION


KRISTINA COOPER,                               )
                                               )
                       Plaintiff,              )
                                               )
       vs.                                     )       CAUSE NO. 1:19-cv-476
                                               )
CROSSMARK, INC.,                               )
                                               )
                       Defendant.              )


                                COMPLAINT FOR DAMAGES

       Plaintiff, Kristina Cooper, for her Complaint against Defendant, Crossmark, Inc.

(“Crossmark”), states the following:

                                             I. Parties

       1.      Plaintiff is a resident of Peru, Indiana.

       2.      Defendant, Crossmark, is a business

                                       II. Jurisdiction and Venue

       4.      This court has jurisdiction to hear this claim pursuant to 28 U.S.C. §1331, in that

the claims arise under the laws of the United States. Specifically, Plaintiff brings this action to

enforce her rights under the FLSA.

       5.      This court has jurisdiction to hear these state claims pursuant to the court’s

supplemental jurisdiction under 28 U.S.C. §1367.

       6.      Venue in the Northern District of Indiana, Fort Wayne Division, is appropriate by

virtue Defendant doing business in this District.




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                                    III. Factual Allegations

       7.      Plaintiff began working for Defendant on October 8, 2018.

       8.      Plaintiff was an hourly employee of Defendant.

       9.      Defendant paid Plaintiff $15.00 per hour.

       10.     Defendant paid Plaintiff on a weekly basis.

       11.     Plaintiff worked regular hours in a week for which she was not paid.

       12.     Plaintiff worked over 40 hours in a week for Defendant.

       13.     Plaintiff worked overtime hours in a week for which she was not paid.

       14.     Plaintiff complained to management about not being paid for all hours worked

including overtime hours.

       15.     Plaintiff’s last day working in her stores was May 15, 2019.

       16.     Plaintiff worked additional hours between May 16, 2019 and May 27, 2019 for

which she has not been paid by Defendant.

       17.     Defendant terminated Plaintiff on May 27, 2019.

       18.     Defendant terminated Plaintiff in retaliation for her complaints about not paid being

paid all hours worked including overtime hours.

       19.     Counsel for Plaintiff has requested that the Indiana Attorney General’s Office refer

the wage claims of Plaintiff to his office in conjunction with the Indiana Department of Labor.

                                     III.   Cause of Action

                                          Count I
                              Failure to Pay Overtime Wages
                        Pursuant to the FLSA, 29 U.S.C. §201 et. seq.

       20.     Plaintiff incorporates paragraphs 1 through 19 by reference herein.

       21.     Plaintiff was an employee of Defendant pursuant to the FLSA.




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       22.     Plaintiff’s work for Defendant involved interstate commerce.

       23.     Defendant is an employer pursuant to the FLSA.

       24.     Defendant had gross revenues of at least $500,000.00 for the 2017 calendar year.

       25.     Defendant had gross revenues of a least $500,000.00 for the 2018 calendar year.

       26.     Defendant willfully failed to properly pay all overtime hours worked by Plaintiff.

       27.     Defendant willfully failed to properly pay all overtime wages in a timely fashion.

       28.     Defendant’s violations of the FLSA have damaged Plaintiff.

       WHEREFORE, Plaintiff prays that the Court enter a Judgment in favor of Plaintiff and

against Defendant in an amount to compensate Plaintiff, liquidated damages, prejudgment interest,

attorney fees, costs of this action, and for all other relief which is just and proper in the premises.

                                                       Respectfully submitted,

                                                       WELDY LAW

                                                       /s/Ronald E. Weldy
                                                       Ronald E. Weldy, #22571-49


                                            Count II
                                    Retaliatory Termination
                          Pursuant to the FLSA, 29 U.S.C. §201 et. seq.

       29.     Plaintiff incorporates paragraphs 1 through 28 by reference herein.

       30.     Plaintiff worked overtime hours which Defendant has refused to pay.

       31.     Plaintiff complained to Defendant about not being paid for all overtime hours

worked.

       32.     Defendant terminated Plaintiff in retaliation for complaining about not being paid

overtime hours correctly.

       33.     Defendant’s violations of the FLSA have damaged Plaintiff.




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       WHEREFORE, Plaintiff prays that the Court enter a Judgment in favor of Plaintiff and

against Defendant in an amount to compensate Plaintiff, liquidated damages, special and punitive

damages, prejudgment interest, attorney fees, costs of this action, and for all other relief which is

just and proper in the premises.

                                                      Respectfully submitted,

                                                      WELDY LAW

                                                      /s/Ronald E. Weldy
                                                      Ronald E. Weldy, #22571-49

                                        Count III
                                  Failure to Pay Wages
               Pursuant to the Wage Claims Statute, Ind Code §22-2-9 et. seq.

       34.     Plaintiff incorporates paragraphs 1 through 33 by reference herein.

       35.     Plaintiff was an employee of Defendant pursuant to the Wage Claims Statute.

       36.     Defendant is an employer pursuant to the Wage Claims Statute.

       37.     Plaintiff earned vacation time while working for Defendant.

       38.     Plaintiff had earned vacation time at the time of her termination.

       39.     Defendant failed to Plaintiff her earned, vacation following her separation of

employment.

       40.     Defendant failed to pay Plaintiff her all hours worked during her employment.

       41.     Defendant had no good faith reason for paying Plaintiff his all of his wages.

       42.     Defendant’s violations of the Wage Claims Statute have damaged Plaintiff.




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       WHEREFORE, Plaintiff prays that the Court enter a Judgment in favor of Plaintiff and

against Defendant in an amount to compensate Plaintiff, liquidated damages, prejudgment interest,

attorney fees, costs of this action, and for all other relief which is just and proper in the premises.

                                                       Respectfully submitted,

                                                       WELDY LAW

                                                       /s/Ronald E. Weldy
                                                       Ronald E. Weldy, #22571-49


                                        IV.     Jury Demand

       43.     Plaintiff incorporates paragraphs 1 through 39 by reference herein.

       44.     Plaintiff demands a trial by jury.

                                                       Respectfully submitted,

                                                       WELDY LAW

                                                       /s/Ronald E. Weldy
                                                       Ronald E. Weldy, #22571-49
                                                       Counsel for Plaintiff,
                                                       Kristina Cooper


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